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 1   TRACY L. WILKISON
     Acting United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     STEVEN R. WELK
 4   Assistant United States Attorney
     Chief, Asset Forfeiture Section
 5   BRENT A. WHITTLESEY (Cal. State Bar No. 73493)
     Assistant United States Attorney
 6   Asset Forfeiture Section
          1400 United States Courthouse
 7        312 North Spring Street
          Los Angeles, California 90012
 8        Telephone: (213) 894-5421
          Facsimile: (213) 894-0142
 9        E-mail: brent.whittlesey@usdoj.gov

10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
                            UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                  SOUTHERN DIVISION
14
     UNITED STATES OF AMERICA,               No. 8:21-CV-00701
15
               Plaintiff,                    VERIFIED COMPLAINT FOR FORFEITURE
16
                    v.                       18 U.S.C. § 981(a)(1)(A) and (C)
17
     $548,953.65 in Bank Funds,              [FBI]
18
               Defendant.
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21        The United States of America brings this claim against
     defendant $548,953.65 in bank funds, and alleges as follows:
22
                               JURISDICTION AND VENUE
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          1.   This is a civil forfeiture action brought pursuant to
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     18 U.S.C. § 981(a)(1)(A) and (C).
25
          2.   This Court has jurisdiction over the matter under 28 U.S.C.
26
     §§ 1345 and 1355.
27
          3.   Venue lies in this district pursuant to 28 U.S.C. § 1395.
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 1                              PERSONS AND ENTITIES

 2        4.   Plaintiff in this action is the United States of America.

 3        5.    The defendant is $548,953.65 in bank funds (the “subject

 4   funds”), which were seized on February 10, 2021 pursuant to a federal

 5   seizure warrant from an Orange County Sheriff’s Department (“OCSD”)

 6   trust account (the “subject account”).       OCSD held these funds

 7   pursuant to civil legal action filed against two accounts at Union

 8   Bank in the name of Hal W. Williams Jr. (“Williams”) and his spouse

 9   Janis R. Williams.

10        6.   The subject funds are currently in the custody of the

11   United States Marshals Service in this District, where they shall

12   remain subject to this Court’s jurisdiction during the pendency of

13   this action.

14        7.   The interests of Williams and Janis R. Williams may be

15   adversely affected by these proceedings.

16                              BASIS FOR FORFEITURE

17        8.   This complaint arises from an investigation by the Federal

18   Bureau of Investigation of a fraudulent personal protection

19   equipment1 (“PPE”) scheme using wire transfers to transfer money at

20   the request of the fraudsters.

21   SUMMARY OF FRAUDULENT SCHEME

22        9.   As set forth in more detail below, co-conspirator

23   Christopher Badsey (“Badsey”), doing business as First Defense

24   International Security Services Corp. (“FDI”), represented to victims

25   that he was selling PPE that was deliverable in short order during a

26   time period when there was an increased demand for PPE, and there was

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          1 PPE is equipment worn to minimize exposure to hazards that
     cause serious workplace injuries and illnesses.

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 1   an international shortage of PPE due to the COVID-19 pandemic.

 2   Badsey under false pretenses caused victims to wire money to co-

 3   conspirators directly or indirectly through transfers to other

 4   accounts, including accounts held by Williams, some of which was then

 5   transferred to the OCSD and represented the subject funds.

 6        10.   Victims were interviewed and described how they wired money

 7   to various accounts under the belief that they were paying a deposit

 8   for PPE, including accounts of Williams and Janis R. Williams at

 9   Union Bank (“UB”).    They were told they could see the inventory once

10   the deposit was received.     They arranged for a meeting place to see

11   the inventory and then their appointments to view the inventory were

12   canceled. They never received PPE and were unable to receive a

13   refund.

14        11.   Bank records show that from at least June 17, 2020 through

15   at least July 13, 2020, Williams received at least $2,358,000 of

16   proceeds from the PPE scheme through a transfer of funds from co-

17   conspirators’ bank accounts and victims accounts into two bank

18   accounts at UB he maintained with his wife as follows:

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 2              DATE            Bank from          Account        Amount
 3                                                     from
 4        6/17/2020       Bank of America        FDI
 5                        (“BOA”)                             $     8,000
 6        6/17/2020       BOA                    FDI          $   100,000
 7        6/18/2020       BOA                    FDI          $   200,000
 8        7/2/2020        Wells Fargo Bank       Victim A     $ 1,000,000
 9                        (“WFB”)
10        7/13/2020       BOA                    Victim B     $ 1,050,000
11                                               TOTAL:       $ 2,358,000
12

13        12.    Bank records show that $1,000,000 of the FDI money
14   deposited into Williams’ UB accounts was used to purchase a cashier’s
15   check made payable to Badsey which was subsequently deposited into an
16   account at WFB in the name of Badsey. Some of the funds deposited
17   into the WFB accounts were spent on items such as food and hotels,
18   and some of the funds were transferred to Cheri Silva (“Silva”), who
19   spent a significant portion of the funds on personal property and
20   real estate.      There were no disbursements from the WFB accounts that
21   could be identified as being payments toward the purchase of PPE.
22        13.    Bank records show that $600,000 of the FDI money deposited
23   into William’s UB account were used to purchase a cashier’s check
24   made payable to Silva, which was deposited into an account at FSNB
25   Bank in the name of Silva. There were no disbursements from the FSNB
26   account that could be identified as being payments toward the
27   purchase of PPE.
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 1        14.    Bank records show that there were three transactions in

 2   Williams’ UB accounts noted as “Legal Process.”         These transactions

 3   combined totaled disbursements of $555,477.52 from Williams’ UB

 4   accounts.   Investigators traced $548,953.65 of the $555,477.52 to the

 5   PPE wire fraud scheme.

 6        15.    Investigation determined the funds in Williams’ UB account

 7   making up the transactions noted as “Legal Process” were transferred

 8   to the OCSD as part of a civil lawsuit filed by one of the victims of

 9   FDI and were being maintained by the OCSD in the subject account.

10        16.    On February 19, 2021, Badsey voluntarily appeared for an

11   interview at the Los Angeles Field office of the FBI, Orange County

12   Resident Agency.   During that interview Badsey admitted to the

13   interviewing agents that he had engaged in a scheme to defraud

14   individuals wanting to purchase PPE.       Badsey expressed remorse for

15   having defrauded the victims of the scheme and stated that what he

16   did with the money was wrong, he regretted it, and would make

17   restitution.

18        17.    On March 3, 2021, the FBI interviewed Silva.        Silva

19   admitted to receiving over a million dollars from Badsey for no

20   consideration and using that money to purchase personal property such

21   as cars, all terrain vehicles and a boat.        She also admitted to using

22   the money to purchase her residence in Robeline, Louisiana, and a

23   restaurant which had not yet opened.       Silva stated she was not

24   employed, and her only source of money was from Badsey.

25                             FIRST CLAIM FOR RELIEF

26        18.    Based on the above, plaintiff United States of America

27   alleges that the subject funds constitute or are derived from

28   proceeds traceable to violations of 18 U.S.C. § 1343 (wire fraud),

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 1   which is a specified unlawful activity as defined in 18 U.S.C. §§

 2   1956(c)(7)(A) and 1961(1)(B).        The subject funds are therefore

 3   subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

 4                               SECOND CLAIM FOR RELIEF

 5         19.   Based on the above, plaintiff alleges that the subject

 6   funds constitute property involved in multiple transactions or

 7   attempted transactions in violation of 18 U.S.C. § 1957(a), or

 8   property traceable to such property, with the specified unlawful

 9   activity being a violation of 18 U.S.C. § 1343 (wire fraud).                The

10   subject funds are therefore subject to forfeiture pursuant to 18

11   U.S.C. § 981(a)(1)(A).

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 1        WHEREFORE, plaintiff United States of America prays:

 2        (a)   that due process issue to enforce the forfeiture of the

 3   subject funds;

 4        (b)   that due notice be given to all interested parties to

 5   appear and show cause why forfeiture should not be decreed;

 6        (c)   that this Court decree forfeiture of the subject funds to

 7   the United States of America for disposition according to law; and

 8        (d)   for such other and further relief as this Court may deem

 9   just and proper, together with the costs and disbursements of this

10   action.

11
     Dated: April 15, 2021               TRACY L. WILKISON
12                                       Acting United States Attorney
                                         BRANDON D. FOX
13                                       Assistant United States Attorney
                                         Chief, Criminal Division
14                                       STEVEN R. WELK
                                         Assistant United States Attorney
15                                       Chief, Asset Forfeiture Section

16
                                            /s/ Brent A. Whittlesey
17                                       BRENT A. WHITTLESEY
                                         Assistant United States Attorney
18
                                         Attorneys for Plaintiff
19                                       UNITED STATES OF AMERICA

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 1                                    VERIFICATION

 2          I, Heather Campbell, hereby declare that:

 3      '   1.   I am a Special Agent with the Federal Bureau of

 4   Investigation and I am a case agent for the forfeiture matter

 5   entitled United States v. $548,953.65 in Bank Funds.

 6          2.   I have read the above Verified Complaint for Forfeiture and

 7   know its contents.    It is based upon my own personal knowledge and

 8   reports provided to me by other law enforcement agents.

 9          3.   Everything contained in the Complaint is true and correct,

10   to the best of my knowledge and belief.

11          I declare under penalty of perjury that the foregoing is true

12   and correct.

13          Executed   {t~    I!,--   ,   2021 in Los Angeles, California.


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15
                                             HE~THER CAMPBELL'
16                                           Special Agent
                                             FEDERAL BUREAU OF INVESTIGATION
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